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                                UNITED STATES DISTRICT COURT
 9                            NORTHERN DISTRICT OF CALIFORNIA
                                   SAN FRANCISCO DIVISION
10

11   IN RE GOOGLE PLAY STORE                       Case No. 3:21-cv-05227-JD
     ANTITRUST LITIGATION
12
                                                   DECLARATION OF ERIC
13   THIS DOCUMENT RELATES TO:                     SCHACHTER IN SUPPORT OF
                                                   STATES’ UNOPPOSED MOTION TO
14   State of Utah et al. v. Google LLC et al.,    GIVE NOTICE OF PROPOSED
     Case No. 3:21-cv-05227-JD                     PARENS PATRIAE SETTLEMENT
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                                                   Judge: Hon. James Donato
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                                                                   Case No. 3:21-cv-05227-JD
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                        NOTICE OF PROPOSED PARENS PATRIAE SETTLEMENT
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 1          I, Eric Schachter, declare as follows:

 2          1.      I am a Senior Vice President with A.B. Data, Ltd. (“A.B. Data”). I am fully familiar

 3   with the facts contained herein based upon my personal knowledge, and if called as a witness, could

 4   and would testify competently thereto. I submit this Declaration at the request of the States’ Counsel

 5   in connection with the above-captioned action (the “Action”).

 6          2.      A.B. Data has been appointed as Notice, Claims, and/or Settlement Administrator in

 7   hundreds of class actions and related matters, administering some of the largest and most complex

 8   notice and claims administration programs of all time, involving all aspects of media, direct, and

 9   third-party notice programs, data management and analysis, claims administration, and settlement

10   fund distribution.

11          3.      I have over 20 years of experience in legal administration that includes implementing

12   and maintaining notice plans and claims administration programs in hundreds of class action cases

13   and related proceedings, including complex consumer, antitrust, and securities class actions;

14   Securities and Exchange Commission settlements and related distributions; and civil rights,

15   employment, and insurance class actions.

16          4.      At the request of the States, and in consultation with A.B. Data’s media experts, I have

17   prepared a proposed notice plan for the proposed settlement reached in this litigation. This Declaration

18   will describe the proposed notice plan and how it will meet due process requirements. This

19   Declaration is based upon my personal knowledge and upon information provided to me by the States,

20   my associates, and A.B. Data staff members.

21          5.      The objective of the proposed notice plan is to provide the best practicable notice under

22   the circumstances to consumers who paid for an app through the Google Play Store or paid for in-app

23   content (including subscriptions or ad-free versions of apps) through Google Play Billing between

24   August 16, 2016, and September 30, 2023, while living in any State, the District of Columbia, Puerto

25   Rico, or the Virgin Islands (“Eligible Consumer”).

26          6.      Attached hereto as Exhibit A is a true and correct copy of the Long-Form Notice.

27          7.      Attached hereto as Exhibit B is a true and correct copy of the Summary Notice.

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 1           8.     A.B. Data can be prepared to commence the notice process within 14 days of entry of

 2   an order granting preliminary approval of the States’ parens patriae Settlement and directing

 3   dissemination of notice, and it can complete the process within 60 days of entry of that Order.

 4                                            DIRECT NOTICE

 5           9.     A.B. Data understands from the States that email addresses for approximately

 6   102 million Eligible Consumers are available to use for notice. Since such robust direct contact

 7   information is available, and these consumers are presumably computer savvy and thus reachable by

 8   email given their purchases through the Google Play Store or Google Play Billing, sending email

 9   notice to these users would reach as many potential consumers as possible and would be the best

10   notice practicable under the circumstances. As such, the proposed notice plan will feature robust

11   direct notice via email to all consumer email addresses identified by Google. The direct notice email

12   will be substantially an email version of the Summary Notice, attached as Exhibit B, and will direct

13   consumers who would like to opt-out of or object to the settlement to the dedicated notice website,

14   see infra.

15           10.    For sending email notice, A.B. Data implements certain best practices when

16   disseminating email to maximize deliverability. For example, the subject line, the sender, and the

17   body of the message will be designed to overcome SPAM filters and encourage readership. The email

18   notice will be in an embedded html text format without graphics, tables, images, attachments, and

19   other elements that would increase the likelihood that the message could be blocked by email service

20   providers. The email notice will also be transmitted with a digital signature to the header and content

21   of the email notice, which will allow providers to programmatically authenticate that the email notices

22   are from A.B. Data’s authorized mail servers. The email notice will also include an embedded link to

23   the case website for consumers to easily access frequently asked questions, important dates and

24   deadlines, and other relevant information about the case.

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 1                                            DIGITAL MEDIA

 2           11.    To supplement direct notice efforts, targeted digital banner and newsfeed

 3   advertisements will be placed on various websites and applications across desktop, mobile phone and

 4   tablet devices. Digital advertising allows the viewer to click on a banner or newsfeed advertisement

 5   and instantly be directed to the case website. Guided by our in-house Comscore 1 data analysis, A.B.

 6   Data’s digital media experts will place digital banner, text, and/or newsfeed ads through popular

 7   digital networks and social media platforms. Because of the vast reach of Google’s online advertising

 8   network, which according to Google reaches over 90% of Internet users worldwide, A.B. Data

 9   recommends using Google-owned platforms to accomplish the best notice practicable under the

10   circumstances. Specifically, the notice plan would feature Google Display Networks, Google

11   AdWords, and YouTube. Facebook and Instagram would also be utilized. This ad campaign will be

12   purchased on an arms’ length basis from Google and is an effective element of notice campaigns that

13   A.B. Data has used in many past notice efforts. In the event Google-owned platforms cannot be used,

14   A.B. Data would utilize Facebook, Instagram, and alternative digital and social networks such as

15   Yahoo! and Microsoft.

16           12.    The digital impressions will be highly targeted, specifically delivered to the social

17   media feeds of Eligible Consumers by using their known contact information, or to digital users that

18   have expressed an interest in information relevant to the subject of this case, such as information

19   concerning Google-made Devices.

20           13.    Several campaign optimization strategies will be utilized including:

21       •   Mobile In-App - targeting users inside mobile applications that fit into our data pool;

22       •   Mobile websites - targeting phones and tablets whose users are visiting websites that are

23           contextually relevant;

24       •   Contextual targeting - serving ads on websites with relevant content such as websites that

25           feature Google-made Devices;

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       Comscore is a global Internet information provider on which leading companies and advertising
27   agencies rely for consumer behavior insight and Internet data usage. Comscore maintains a
     proprietary database of more than 2 million consumers who have given Comscore permission to
28   monitor their browsing and transaction behavior, including online and offline purchasing.

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 1      •   Behavioral targeting - targeting user IDs whose owners have shown activity in the target data

 2          pools, such as those interested in Google-made Devices; and

 3      •   Predictive Modeling - Using “look alike” modeling to target user IDs whose owners have

 4          strong similarities to users who previously clicked through to the case websites.

 5          14.     All banner and newsfeed ads will include embedded and trackable links to the case-

 6   specific website providing a way to optimize ads based on traffic and conversions. A.B. Data employs

 7   a fully staffed digital buying team to manage all digital and social media programs in-house for the

 8   greatest control and oversight. A.B. Data’s digital media experts will monitor the success,

 9   conversions, and activity associated with the digital and social media and will optimize the number

10   of impressions delivered across each platform to achieve maximum engagement and efficiency.

11          15.     The digital and social media ad campaign, including utilization of the digital networks

12   and social media described above, will run for 45 days to ensure ample time to deliver the targeted

13   impressions and drive consumers to the website. We expect a minimum of 60 million impressions to

14   be delivered across digital networks and social media, enabling maximum exposure and delivering

15   the reach required to satisfy due process. The proposed digital and social media ad campaign is

16   flexible and can be adjusted as necessary to provide sufficient notice coverage. Thus, the number of

17   impressions ultimately served will depend on how many Eligible Consumers are successfully sent

18   direct notice by email and will be adjusted accordingly to provide sufficient reach.

19          16.     A.B. Data will also use Google AdWords and/or other search engine partners to place

20   sponsored search listings to direct potential Eligible Consumers to the settlement website when users

21   search for target phrases and keywords relevant to the action.

22                                             EARNED MEDIA

23          17.     A.B. Data recommends that a multimedia news release (“MNR”) that will be

24   distributed on PR Newswire’s US1 National newsline, reaching approximately 14,500 websites,

25   media outlets, and journalists. The MNR will blend text, photos, related documents, and social media

26   on an interactive landing page. This type of release and its content can be easily distributed across the

27   Internet, including social networks. An MNR is recommended over a standard wire news release

28   because it is targeted not just to reporters, but consumers online.

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 1                                 TOLL-FREE TELEPHONE NUMBER

 2          18.     A.B. Data will implement and maintain a toll-free telephone number with an

 3   automated interactive voice response system. The toll-free telephone number will appear on the Long-

 4   Form Notice and Summary Notice. The automated interactive voice response system will present

 5   callers with a series of choices to hear prerecorded information concerning the Action. If callers need

 6   further help, they will have an option to leave a voicemail for a call back.

 7                                                 WEBSITE

 8          19.     A.B. Data will also implement and maintain a case-specific website for this matter.

 9   The website address will appear on the notices and will be hyperlinked from the digital banner ads.

10   The website will provide, among other things, the same information as the Long Form Notice, Exhibit

11   A, including a summary of the case and consumer rights and options as well as instructions on how

12   consumers may submit exclusion requests online or via mail, as well as objections via mail only. The

13   website will also contain relevant pleadings, important dates, and any pertinent updates concerning

14   the proposed settlement and the Action.

15          20.     The website will also have an online exclusion form for Eligible Consumers who

16   would like to opt-out of the Settlement.

17          21.     A.B. Data estimates that the website will be live within 14 days of the entry of an order

18   granting preliminary approval of the States’ parens patriae Settlement and directing dissemination of

19   notice. A.B. Data can make the website available for the Court to review prior to it being made public.

20                                        EXCLUSION REQUESTS

21          22.     A.B. Data will collect online and mailed-in exclusion requests and submit them

22   securely to the Settlement Administrator who will handle the distribution of funds.

23          23.     All requests for exclusion and all objections must be received within 90 days of the

24   Order Directing Notice of Parens Patriae Settlement.

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 1                                            DATA SECURITY

 2          24.     A.B. Data is committed to protecting the confidentiality, integrity, and availability of

 3   personal identifying information and other information that it collects from its clients and consumers

 4   and requires that its employees, subcontractors, consultants, service providers, and other persons and

 5   entities it retains do the same. A.B. Data has an Information Security Policy in place, which is a suite

 6   of policies and procedures intended to cover all information security issues and bases for A.B. Data,

 7   and all of its divisions, departments, employees, vendors, and clients. Consistent with that policy, all

 8   data provided directly to A.B. Data will be used solely for the purpose of effecting the terms of the

 9   notice plan. A.B. Data will not use information to be provided by consumers or parties to the Action

10   for any other purpose.

11          25.     A.B. Data has a number of high-profile clients, including the Securities and Exchange

12   Commission, the United States Department of Justice, other agencies of the United States

13   government, as well as direct banking and payment services companies with some of the most

14   recognized brands in United States financial services and some of the largest credit card issuers in the

15   world. We are therefore frequently subjected to physical, logical, data, and information systems

16   security reviews and audits.

17                                                   FEES

18          26.     Based on the defined scope of work provided by counsel, A.B. Data has estimated the

19   notice costs will be $275,000 to $325,000.
20          27.     A.B. Data’s estimated fees and charges are based on certain information provided to

21   A.B. Data by the parties as well as significant assumptions. Accordingly, the estimate is not intended

22   to limit A.B. Data’s actual fees and charges, which may be less or more than estimated due to the

23   scope of actual services or changes to the underlying facts or assumptions.

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 1                                              CONCLUSION

 2          28.     It is my opinion, based on my individual expertise and experience and that of my A.B.

 3   Data colleagues, that the proposed notice plan described herein reflects a strategic and contemporary

 4   method of deploying notice to Eligible Consumers and is adequate and reasonable to reach Eligible

 5   Consumers effectively. A.B. Data reasonably believes that the reach of the notice plan, through a

 6   multi-media-channel approach that includes direct email, digital banner ads, microtargeted digital

 7   notice, social media, and earned media, will satisfy due process and is the best practicable notice plan

 8   under the circumstances.

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 1          I declare under penalty of perjury under the laws of the United States of America that the

 2   foregoing is true and correct.

 3          Executed this 18th day of December 2023 in Milwaukee, Wisconsin.

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 5
                                                By:
 6                                                    Eric Schachter
                                                      A.B. Data, Ltd.
 7                                                    Milwaukee, Wisconsin
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 1                                         E-FILING ATTESTATION

 2          I, Jessica V. Sutton, am the ECF User whose ID and password are being used to file this

 3   document. In compliance with Civil Local Rule 5-1(i)(3), I hereby attest that the signatory identified

 4   above has concurred in this filing.

 5

 6                                                 /s/ Jessica V. Sutton
                                                   Jessica V. Sutton
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